  Case 1:19-md-02875-RMB-SAK                         Document 2939           Filed 12/03/24    Page 1 of 5 PageID:
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                                                       December 3, 2024

     Via ECF
     Honorable Thomas I. Vanaskie, Special Master
     Stevens & Lee, P.C.
     1500 Market Street, East Tower, 18th Floor
     Philadelphia, Pennsylvania 19103

                Re:        In re Valsartan, Losartan, and Irbesartan Products Liability
                           Litigation, No. 1:19-md-02875 (D.N.J.)

     Dear Judge Vanaskie:

                Please accept this agenda letter on behalf of the Plaintiffs in advance of the

     December 4, 2024 case management conference.

           1. The Parties’ Lexecon Waivers.

                As discussed at the previous conference, out of the five randomly selected

     cases, all five involved Mylan and/or Aurobindo API. Mylan refused to waive

     Lexecon and Aurobindo has stated they would only waive Lexecon if the Plaintiffs

     agreed to dismiss the foreign Aurobindo entity—which effectively equates to

     Aurobindo refusing to waive Lexecon. Plaintiffs’ understanding is that the Court
Case 1:19-md-02875-RMB-SAK        Document 2939       Filed 12/03/24   Page 2 of 5 PageID:
                                       108321
 Hon. Thomas I. Vanaskie, Special Master
 December 3, 2024
 Page 2

 wants a second pool of cases that can be worked up with the ability to be tried by the

 Honorable Renée Marie Bumb. Unfortunately, since Mylan and Aurobindo have

 refused to waive Lexecon, it does not appear that there is an easy solution for these

 five cases to have the capability to be tried by the Honorable Renée Marie Bumb.

 As a result, Plaintiffs suggest that five additional cases be randomly selected from

 the bellwether pool that include only the ZHP API manufacturing defendants (ZHP,

 Teva and Torrent) and do not include Mylan or Aurobindo.

    2. Jurisdictional Issues of Track One Bellwether Cases.

       First, the Plaintiffs are not aware of any jurisdictional issues related to the

 Gaston Roberts case (the first case to be worked up for trial). Plaintiff agrees not to

 pursue the local pharmacy defendant, so there is not a subject matter jurisdictional

 issue. In addition, Plaintiff waives Lexecon, so this case can be tried in New Jersey.

       Defendants have also raised subject matter diversity issues related to the Pate

 case. Due to Mylan’s refusal to waive Lexecon, Pate may not be a case that can be

 tried in New Jersey even if there were no subject matter diversity issues.

 Nonetheless, Plaintiffs’ leadership counsel has asked defense counsel to meet and

 confer with individual counsel for Pate to work out an agreement for potentially

 being able to refile that case in the state court of New Jersey as long as the defendants

 to do try to then assert a statute of limitations defense.
Case 1:19-md-02875-RMB-SAK         Document 2939      Filed 12/03/24   Page 3 of 5 PageID:
                                        108322
 Hon. Thomas I. Vanaskie, Special Master
 December 3, 2024
 Page 3

          The Retailer Defendants have previously raised issues as to whether the

 Guillory and Pizzolato plaintiffs have viable claims against the retailer defendants

 in Louisiana. Guillory was not one of the five cases randomly selected. For

 Pizzolato, Mylan refused to waive Lexecon. The issue of whether these plaintiffs

 have viable claims against the retailer defendants does not impact whether or not

 either of these cases could be tried in New Jersey, because Mylan refused to waive

 Lexecon. Nonetheless, Plaintiffs believe that these cases do have viable claims

 against the retailer defendants. Plaintiffs’ Leadership Counsel suggested that these

 parties continue to meet and confer, but also suggested that the second trial only

 proceed forward against the manufacturer defendants (to avoid any complications

 related to pharmacy Lexecon issues or pharmacy state-specific claims).

    3. Plaintiffs’ Request Regarding the Documents Needed for Jinsheng Lin’s
       Deposition.

          On October 24, 2024, Plaintiffs wrote to ZHP’s counsel regarding documents

 that should have been produced previously but apparently were not, and which will

 be needed for the recently ordered deposition of Jinsheng Lin. Specifically, Plaintiffs

 wrote:

                In preparation for that deposition, Plaintiffs have reviewed
                ZHP’s document production for policies or procedures
                that would allow for the destruction of his custodial file
                from November 2017 and earlier; however, Plaintiffs have
Case 1:19-md-02875-RMB-SAK        Document 2939     Filed 12/03/24   Page 4 of 5 PageID:
                                       108323
 Hon. Thomas I. Vanaskie, Special Master
 December 3, 2024
 Page 4

               been unable to find such documents. Please identify those
               documents or produce them immediately.

               Plaintiffs have also reviewed ZHP’s document production
               for the certificates of analysis and material safety data
               sheets from its dimethylformamide, triethylamine, and
               triethylamine hydrochloride suppliers. Plaintiffs have not
               been able to find these documents in the production.
               Please identify the suppliers’ certificates of analysis and
               material safety data sheets for the entire relevant time
               period in the production, or produce them immediately.

 (Ex. 1 hereto). Four days later, ZHP responded: “We are looking into the issues

 raised in your letter and will get back to you soon regarding the requested discovery.”

 (Ex. 2 hereto).

       The documents are obviously relevant to the case in general, and the

 deposition in particular. Plaintiffs’ need the policies allegedly justifying the

 destruction of most of Jinsheng Lin’s custodial file, including years of emails, in

 order to question him about that process. Moreover, this Court explicitly ordered

 ZHP to produce all of its document retention policies on November 12, 2021. (ECF

 1753, p.3).

       The certificates of analysis are needed to establish the extent to which ZHP

 had documentation of the presence of nitrosamine precursors in the chemicals used

 to manufacture its valsartan, since Jinsheng Lin’s current custodial file fails to

 explain how he came to his understanding that there was NDMA in valsartan and
Case 1:19-md-02875-RMB-SAK       Document 2939      Filed 12/03/24     Page 5 of 5 PageID:
                                      108324
 Hon. Thomas I. Vanaskie, Special Master
 December 3, 2024
 Page 5

 that it was caused by the combination of dimethylamine and sodium nitrite during

 quenching of the substance, as documented in his July 27, 2017 email. Specifically,

 Plaintiffs have independently obtained Certificates of Analysis from the same

 suppliers for the same solvents used in the manufacturing processes at issue, for

 example showing that the DMF used in the process was known to contain a list of

 impurities including dimethylamine—the substance that combined with nitrous acid

 to form NDMA. ZHP would have been provided the same or similar certificate of

 analysis with every delivery of the solvents. (Ex. 3 hereto). And the Court-approved

 requests for production required the production of the requested certificates of

 analysis. (ECF 328, p. 7-8 of Ex. A).

       On December 3, 2024 at 4:00 pm, ZHP wrote to Plaintiffs providing some

 bates numbers for document related policies, and inviting a meet and confer on the

 documents. (Ex. 2 hereto). Plaintiffs are willing to speak to ZHP, but need to move

 to closure on these discrete issues, and respectfully ask the Court to enter an order

 for ZHP to identify or produce the requested documents within fourteen days of

 tomorrow’s status conference, to the extent not already done.

                                         Respectfully,


                                         Adam M. Slater
                                         Plaintiffs’ Liaison Counsel
 Cc: Counsel of record (via ECF)
